                                  UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF NORTH CAROLINA
                                       NORTHERN DIVISION

                                                  No. 2=21-ce-30         c, ")
     UNITED STATES OF AMERICA                              )
                                                           )
                                                                           INDICTMENT
                               v.                          )
                                                           )
                                                                           [UNDER SEAL]
     JAVON SARTAN FREEMAN                                  )


          . The Gra1;1d Ju,ry Charges:

                                                     COUNT ONE

          Beginning .in_'9r about 2017, the exact date being u~nown
              '                                                .
                                                                    to . the Grand
                                                                                .
                                                                                   Jury,
                                                                                     ~   '                   '




 ai:ld c~ntinuing up           to       a.n'~ including in or about Septeniber ·6f _2020, _in the Eastern

 District of North Carolina, the defenda_n t, JAVON SARTAN F~E.EMAN, did combi~e,

.. conspire,
       .
             confe_
                  de:rate~··agree and have a tilcit understanding
               . . . .. . . .                               . :·
                                                               .
                                                                  . W:ith
                                                                    .
                                                                          other ,persons,

.· kn~wn_' and 1iiik~owii:t~
                         .
                             the 'Grand Jury, to knowingly and ,i;te~tionally
                                        '                       .   .        '
                                                                              _di~tribute
                                                                                      .                  '




 arid possess with the ,inte1;1t to distribute five hundred ·(500) g;ainS•, or more of cocaine,
                           •        ,                                                        I       •           ,   •




 a Schedule II · co~trolle'd substance, in violation of Title 21, Un;i.ted States Code,
      •                             '   •::   •                                  •               •   I




 .   .                 .
 Section 841(a)(t).

          All in violation of Title 21, United States Code, Section 846,-




                                            1
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                                            FORFEITURE NOTICE

         Notice is hereby given that all right, title and interest in the property described

 herein is subject to forfeiture.

         Upon conviction of any felony violation of the Controlled Substances Act

 charged herein, the defendant shall forfeit to the United States, pursuant to 21 U.S.C.

 § 853(a); any property·constituting, or derived from, any proceeds obtained, directly
                         '   '   '



 or indirectly,· a~   a result ·of the said offense, and any prop~rty {is~Q., "o:r_.i ntended to be
 UE;ed, in any mariner _. ot ,p art, to ·commit, or to facilitate the ~oinµiis'~~~n of.the said :

 offense .

       . Upon qonvi~tion:-ciian:y•violation oft4e d-uri Co~trolAct, the Nat~onal Firearms

 Act; or any other offense
                      . - .
                            charged herein that involved
                                                  .      or was.perpetrated
                                                               .           .
                                                                             in whole or

 in part by the useoffueatm_s or ammunition, the.defendant shaffforfe~t to the United

· .States,
     . .. .
            pµrsuant
             .     . .
                      to 18..'.CJ:S.C. § 924(d) and/or 26 U:.S.C. § 5872,·· il~ niade·applicable by
                                 ...   .·                 .   .    .     .       :· .   .   .

· 28 _U.S.c':
      . .·
              ·§ 2461(G),. any. ~rid all firearms and ammunition that_
                                                                     .
                                                                      .were.:ipvolved
                                                                          .      ;
                                                                                      in or

 used in a knowing o,r willful commission of the offense, or, P':1rsua.rit to 18 U.S.C.

 § .3q_65, that were foii:ri_
                            d ~il the possession or under the .immediate  cbhtrol of the
                                                                       ..    '




· defendant at the tiniE:l of arrest.

         If any of the above-described forfeitable property, as a result of any act or

 omission of a defendant: cannot be located upon the exercise of due diligence; has

 been transferred or sold to, or deposited with, a third party; has been placed beyond

 the jurisdiction of the court; has been substantially diminished in value; or has been

 commingled with other property which cannot be divided without difficulty; it is the

 intent of the United States, pursuant to Title 21, United States Code, Section 853(p),
                                                    2
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to seek forfeiture of any other property of said defendant up to the value of the

forfeitable property described above.

                                                   ATRUEBTTJ ,

                                               c
                                                   'FORE.P.1£~UN   .   .    /

                                                   DATE:   v,u_. If, ;;.i)d-/
MICHAEL F. EASLEY, JR.
United Sta es Attorney · ·



Assistant United Stat~s A,ttorney




                      '       ~   '       ..
                          '           '

                                                                                ' '




                                                      3
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